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                            IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF UTAH


 UNITED STATES OF AMERICA,

               Plaintiff,                            RULING ON OBJECTIONS TO TRIAL
                                                     ORDER
 v.
                                                     Case No. 2:18-cr-00365-JNP-BCW
 JACOB KINGSTON, ISAIAH KINGSTON,
 LEV DERMEN, RACHEL KINGSTON, and                    District Judge Jill N. Parrish
 SALLY KINGSTON,

               Defendants.



        Defendant Lev Dermen filed a number of objections to the trial order issued by the court.

[Docket 269]. The court addresses Dermen’s objections and clarifies its trial order as follows.

        First, Dermen joins defendant Jacob Kingston’s objection to the portion of the trial order

limiting the defendants’ trial time. The court defers ruling on these objections until the other parties

have had an opportunity to address this issue.

        Second, Dermen objects to the May 3, 2019 deadline for motions for Rule 15 depositions.

He argues that the deadline will be impossible to meet because the Government will not produce

its Jenks Act materials until June 3, 2019. The court disagrees. Dermen is required to identify any

witnesses who he believes will provide exculpatory testimony and who will require Rule 15

depositions by the May 3, 2019 deadline. If the Government’s Jenks Act materials indicate that

any foreign individuals will provide exculpatory testimony, and Dermen had previously been

unaware of this exculpatory testimony, he may request permission to file an untimely motion for

a Rule 15 deposition.
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       Third, Dermen requests clarification regarding the deadline for nondispositive pretrial

motions. The court clarifies that any nondispositive motions not otherwise accounted for in the

trial order must be filed by the motion in limine deadline: June 17, 2019.

       Signed April 24, 2019.

                                             BY THE COURT



                                             ______________________________
                                             Jill N. Parrish
                                             United States District Court Judge




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